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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION


                                              2:20-cr-20280-TGB-EAS
UNITED STATES,
                                            HON. TERRENCE G. BERG
                  Plaintiff,

      v.
                                         ORDER GRANTING IN PART
DEIONTA HARDEN ET AL,                     AND DENYING IN PART
                                         DEFENDANT’S MOTION TO
                  Defendants.             SUPPRESS (ECF NO. 20)

      This is a drug conspiracy case. The indictment charges Defendants
Deionta Harden and Rhonda Hubbard with: (1) Conspiracy to

Manufacture, to Possess with Intent to Distribute, and to Distribute

Cocaine Base in violation of 21 U.S.C. § 846; (2) Possession with Intent
to Distribute Cocaine in violation of 21 U.S.C. § 841(a)(1), (b)(1)(B); and

(3) Possession with Intent to Distribute Heroin in violation of 21 U.S.C.

§ 841(a)(1). Now before the Court is Defendant Harden’s motion to

suppress (ECF No. 20), which asserts that four search warrants in this

case were issued without probable cause, and thus that the subsequent

searches were conducted in violation of Defendant Harden’s Fourth

Amendment rights. Defendant Harden asks the Court to suppress all

evidence, statements, and fruits obtained as a result of the execution of

these warrants. The other defendant in this case, Rhonda Hubbard, filed

a notice of joinder (ECF No. 22).
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         Having reviewed the briefing in this case and heard oral argument

on the issues, Defendant’s motion to suppress will be GRANTED IN

PART and DENIED IN PART.

    I.        BACKGROUND

         On June 25, 2020, an indictment was filed charging Defendant

Deionta Harden and Defendant Rhonda Hubbard with (1), Conspiracy to

Manufacture, to Possess with Intent to Distribute, and to Distribute

Cocaine Base in violation of 21 U.S.C. § 846; (2), Possession with Intent

to Distribute Cocaine in violation of 21 U.S.C. § 841(a)(1), (b)(1)(B); and

(3), Possession with Intent to Distribute Heroin in violation of 21 U.S.C.

§ 841(a)(1). ECF No. 1.
         There are four search warrants challenged here: (1), issued on

February 3, 2020, a search warrant to “install, maintain, and remove a

GPS tracking device on a Black 2014 Dodge Durango” (ECF No. 20-2);

(2), issued on February 24, 2020, a search warrant authorizing search of

two locations, 48631 SI94 Service Drive Apartment #205 (the “Harbour

Club Apartments”) and 585 Shadowlawn Street (ECF No. 20-3); (3),
issued on February 25, 2020, a search warrant to search a storage unit

(#315) located at 6535 Middlebelt Road in Romulus, Michigan (ECF No.

20-4); and (4), issued on March 5, 2020, a search warrant authorizing a

second search of 585 Shadowlawn Street (ECF No. 31-5).




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      On February 3, 2020, police obtained the warrant to attach a GPS

device to the black Dodge Durango. The affidavit in support of the

warrant included information received from four informants and tipsters

in July of 2018, September of 2019, and October of 2019. In July of 2018,
a confidential informant told officers that they could purchase an “8 ball”

of crack cocaine from Defendant Harden in the parking lot of 48420

Denton Road at the Harbour Club Apartments. ECF No. 20-2, PageID.78.
Police confirmed that Harden had a criminal record including several

felony drug offenses. ECF No. 20-2, PageID.77 The confidential

informant was provided pre-recorded Michigan State Police funds, met

with Defendant Harden, and purchased crack cocaine—however, the

informant “did not stay in contact with” the officer after the buy. ECF No.

20-2, PageID.71. Also in July of 2018, another informant who had been
arrested asked to speak with a detective. ECF No. 20-2, PageID.78. The

individual stated he could purchase crack cocaine from “T,” that T lived

at 48420 Denton Road, that “T” lived with his girlfriend Rhonda, and that

“T” drove a white four-door vehicle with tinted windows. Like the first

informant, the individual made no more contact with police after giving

this information.

      Over a year later, in September 2019, an anonymous tipster told

officers that a Black male, who goes by the name of “T” and drives a

Chrysler 200, was selling crack cocaine out of 48631 SI94 Service Drive

Apt. 205 in Belleville, Michigan. ECF No. 20-2, PageID.78. This is the
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same location previously described as 48420 Denton Road—the Harbour

Club Apartments. The officer confirmed that Apartment 205 was leased

by Defendant Hubbard, who had moved out of her previous apartment in

the same Harbour Club complex. The final tip came via mail to the police
department in October of 2019. ECF No. 20-2, PageID.78. The letter,

which had no sender information, stated there was a “trap house” located

in the Harbour Club Apartments off I94 Service Drive and the apartment
was being rented by “T.” An officer conducted a check of this area and

observed a white Chrysler 200.

      The Chrysler 200’s registration revealed that the vehicle was

associated with Defendant Rhonda Hubbard, who resided at 585

Shadowlawn Street in Inkster, Michigan. Id. at PageID.77. Further

records checks confirmed that Defendant Harden was also associated
with the Shadowlawn address. Id. From November 2019 to January

2020, officers conducted surveillance and two trash pulls at the

Shadowlawn residence. Police observed the white Chrysler 200 at the

Shadowlawn residence and, on November 24, 2019, attached an

electronic surveillance device to it. ECF No. 20-2, PageID.79. On

November 24, 2019, officers also conducted a trash pull at the

Shadowlawn address which produced evidence described as “residency”

records, that is, documents showing that both Defendants were living at

the location. Id.


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       On December 12, 2019, an officer observed a black Dodge Durango

in the parking area of the Harbour Club Apartments and, upon running

the license plate, found it registered to Defendant Hubbard and another

person. ECF No. 20-2, PageID.79. A few days later, on December 16,
officers went to the Shadowlawn residence to remove the surveillance

device from the Chrysler 200 because it had not been driven in two weeks.

Id. While there, officers also conducted a trash pull and found two clear
plastic sandwich baggies that were knotted which, according to the

officers, was “consistent with the storage and transport of narcotics.” Id.

Officers also saw the black Dodge Durango parked in the driveway of the

Shadowlawn residence. Id.

       In January of 2020, while conducting surveillance in the area of the

Harbour Club Apartments, an officer again observed the black Dodge
Durango parked and unoccupied. ECF No. 20-2, PageID.80. Digital

surveillance equipment was installed near 585 Shadowlawn. Id. Through

this   surveillance   Defendant    Harden    was    observed   exiting   the

Shadowlawn residence and driving away in the black Dodge Durango on

January 30, 2020. Id. Defendant Harden was observed as the sole

occupant/driver of the Durango twice more in the next four days. Id.

       Over the next two months, police observed a number of “short stay”

visits to the Harbour Club Apartments while Defendant Harden was also

present. In late February, police arrested a driver who had just left the

Harbour Club Apartments and discovered drugs in his vehicle. ECF No.
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20-3, PageID.101-102. On February 24, police obtained a warrant to

search the Shadowlawn residence and the Harbour Club Apartments.

During those searches, Defendant Harden was arrested, and police

discovered keys to a storage unit. ECF No. 20-4, PageID.122-123. As they
were investigating the storage unit about four hours later, police saw the

Dodge Durango arrive at the storage facility and quickly depart. Id.

      On March 1, about a week after his arrest, Defendant Harden called
Defendant Hubbard from jail and told her to return to the Harbour Club

Apartments, collect some hidden narcotics he believed the police had

missed in their initial search, and bring them back to the Shadowlawn

residence. ECF No. 31-5, PageID.311-13. In a subsequent call, Defendant

Hubbard said that she had collected some, but not all, of the hidden

drugs. Police obtained a warrant, searched the Harbour Club Apartments
a second time on March 5th, and recovered the drugs Defendant Hubbard

had left behind. Id. at PageID.312. In other calls, Defendant Hubbard

told Defendant Harden that she had recovered heroin from the Harbour

Club Apartments, that she had “cooked” narcotics for the first time at the

Shadowlawn residence, and planned on doing so again, that she had “sold

some of the narcotics to an unknown subject for $10,000.00 and she was

planning on selling more,” and that, while Harden was incarcerated, she

generally planning on running “the narcotics sales while . . . a subject

named ‘Randall’ was going to run the prostitution side of the ‘business.’”

Id. at PageID.312-13. Hubbard also told Harden that she had
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“abandoned” the Harbour Club apartment, and that she would take care

of the Shadowlawn residence while Harden was incarcerated. Id. On the

basis of those calls, police obtained a warrant and searched the

Shadowlawn residence a second time.

II.     LEGAL STANDARD

        The Fourth Amendment guarantees that the right of the people “to

be secure in their persons, houses, papers, and effects, against

unreasonable searches and seizures, shall not be violated, and no

Warrants shall issue, but upon probable cause, supported by Oath or

affirmation, and particularly describing the place to be searched, and the

persons or things to be seized.” U.S. Const. amend. IV. The “core” of the
Fourth Amendment is the right of a citizen to be “free from unreasonable

governmental intrusion.” Kyllo v. United States, 533 U.S. 27, 31, 121 S.

Ct. 2038, 2041, 150 L. Ed. 2d 94 (2001) (quoting Silverman v. United

States, 365 U.S. 505, 511 (1961)). “One of the touchstones of the

reasonableness requirement is that the police must generally obtain a

warrant based upon a judicial determination of probable cause before
entering the home.” Ziegler v. Aukerman, 512 F.3d 777, 785 (6th Cir.

2008)

        The Supreme Court held in United States v. Jones that the

“installation of a GPS device on a target’s vehicle, and its use of that

device to monitor the vehicle’s movements,” constitutes a “search” under


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the Fourth Amendment requiring probable cause. 565 U.S. 400, 404

(2012). Probable cause demands an assessment of whether there is “a

‘fair probability,” given the totality of the circumstances, that contraband

or evidence of a crime will be found in a particular place.” U.S. v.
Davidson, 936 F.2d 856, 859 (6th Cir. 1991) (quoting U.S. v. Loggins, 777

F.2d 336, 338 (6th Cir. 1985)). When evaluating an application and

affidavit for a search warrant, the magistrate judge must “make a
practical, common-sense decision whether, given all the circumstances

set forth in the affidavit before him, including the ‘veracity’ and ‘basis of

knowledge’ of persons supplying hearsay information, there is a fair

probability that contraband or evidence of a crime will be found in a

particular place.” Illinois v. Gates, 462 U.S. 213, 238 (1983)

  III.        ANALYSIS

         Defendant Harden seeks to suppress all evidence seized during the

execution of these warrants on the grounds that the affidavits offered in

support of the search warrants failed to set out sufficient facts to

establish probable cause.

           a. February 3, 2020 Search Warrant (Dodge Durango
              Tracker)
         The first search warrant was issued on February 3, 2020, and

provided that a GPS tracking device could be installed on a black 2014

Dodge Durango. ECF No. 20-2, PageID.82. Defendant’s motion contends
that the affidavit was insufficient to support probable cause because it

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failed to establish the reliability of the confidential and anonymous

informants and did not provide a sufficient nexus between the suspected

criminal activity and the Dodge Durango. The government disagrees and

argues that probable cause was established through evidence of
“Harden’s continual and ongoing drug trafficking,” and the presence of

the Dodge Durango at the Shadowlawn address and the Harbour Club

Apartments—both locations “which were involved in drug trafficking.”
ECF No. 24, PageID.142; ECF No. 31, PageID.242.

      A tracking-device warrant may be issued “if a supporting affidavit

establishes probable cause to believe that the device will uncover

evidence, fruits, or instrumentalities of a crime.” United States v.

Coleman, 923 F.3d 450, 454 (6th Cir. 2019). The question, of course, is

not whether drugs or evidence of drug trafficking would be found in the
Dodge Durango, but instead whether tracking the vehicle would uncover

evidence, fruits, or instrumentalities of drug trafficking.

      “Where, as here, the bulk of the information in the affidavit comes

from a confidential source, a court must consider the veracity, reliability,

and the basis of knowledge for that information as part of the totality of

the circumstances analysis.” United States v. Coffee, 434 F.3d 887, 893

(6th Cir. 2006). To qualify a confidential informant as reliable, an “affiant

need only specify that the confidential informant has given accurate

information in the past.” United States v. Greene, 250 F.3d 471, 480 (6th

Cir. 2001). An affidavit that “supplies little information” concerning an
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informant’s reliability” may still support a finding of probable cause “if it

includes sufficient corroborating information.” Coffee, 434 F.3d at 893.

That is, if police subsequently confirm some or all of what a tipster or

informant has said, that tip may support probable cause even if the
affidavit does not include information about the tipster’s reliability.

      The first confidential informant in this case contacted an officer in

July of 2018 and informed the officer that Defendant Harden was
trafficking drugs out of the Harbour Club Apartments. ECF No. 20-2,

PageID.77. When this informant was provided pre-recorded funds to

purchase crack cocaine from Defendant Harden, the affidavit states that

the informant “did not stay in contact with [the officer] after the buy.”

ECF No. 20-2, PageID.78. It is not entirely clear what this statement

means, and the vague description of what happened makes this
“controlled buy” of little use in the probable cause analysis. For example,

the affidavit includes no details as to when or where this “controlled buy”

took place, nor exactly what, if anything, was purchased. See United

States v. Hython, 443 F.3d 480, 486 (6th Cir. 2006) (“More importantly,

the affidavit offers no clue as to when this single controlled buy took

place.”). The second informant met with the detectives after he or she was

arrested and explained that he or she could purchase crack cocaine from

“T” (allegedly Defendant Harden), who lived at the Harbour Club

Apartments. But “[t]his arrestee had no more contact with detectives

after providing this information.” ECF No. 20-2, PageID.78.
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      Here, the affidavit states that the affiant “personally met and

interacted with” the first confidential informant, that the informant “has

provided information that [the affiant] was able to independently verify

as being accurate,” and that the affiant has “concluded that [the
confidential informant] is credible.” ECF No. 20-2. PageID.77. But the

affidavit includes no details about the basis of that conclusion, nor what

information was independently verified or how that verification was
done. While the affiant states that the information was verified, it is not

clear whether the affiant is referring to information about Defendant

Harden, or the affiant is referring to past investigations in which the

informant provided information that was later verified, as contemplated

by Greene and other cases in this Circuit. Cf. United States v. Allen, 211

F.3d 970, 975 (6th Cir. 2000)(affiant’s statement of informant’s reliability
was sufficient where affiant also stated that he had known the informant

for five years and that the informant had given “information about

individuals involved in criminal activity in the past that has proven to be

reliable”)(en banc); United States v. Runyon, 792 F. App’x 379, 384 (6th

Cir. 2019)(affiant’s statement that informant was reliable was sufficient

where affiant also stated that police had worked with this informant for

“two years,” that the informant had helped conduct “eight controlled

buys,” and affiant had confirmed informant’s reliability through

“personal observation”); United States v. Hughes, No. 2:17-CR-20108-

TGB, 2018 WL 9907105, at *5 (E.D. Mich. Aug. 7, 2018)(noting that a
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confidential source had a proven record of reliability because he had

“previously worked with DEA agents” and the tips were “verified by

independent investigation”). Here, the affidavit contains no information

about whether the first informant had assisted police in past
investigations or otherwise provided reliable information in past cases.

The second informant does not appear to have been known to police

before his or her arrest, and no information is included as to the second
informant’s reliability.

      Ultimately, the affidavit provided little information by which the

Court could evaluate either of the two informants’ reliability: the

affidavit does not suggest that officers observed the “controlled buy” or

any other purchases, tested any purchased narcotics, or had any

knowledge that the informants had made previous narcotic purchases
from Defendant Harden. Cf. United States v. Pinson, 321 F.3d 558, 563

(6th Cir.2003)(“[T]he affidavit in this case contained Officer Mackall's

personal observation, his pat down of the informant before and after the

purchase of the narcotics, and the fact that the drugs purchased by the

confidential informant were later tested positive for cocaine base.”).

      There were also two additional anonymous tips—one provided to a

detective and one mailed to the police department—which stated that “T”

was selling narcotics out of the Apartments. “Anonymous tips . . . demand

more stringent scrutiny of their veracity, reliability, and basis of

knowledge than reports from confidential informants.” United States v.
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Helton, 314 F.3d 812, 820 (6th Cir. 2003) Due to their anonymous nature,

the affiant did not, and indeed could not, provide information on the

anonymous tipsters’ reliability. In sum, the affidavit lacks facts from

which the issuing magistrate could have assessed the credibility of the
informants and tipsters.

      The Court now turns to the question of whether the information

from the confidential informants and tipsters was corroborated and
concludes that it was, but only in part. First, the accounts provided by

the two informants and two tipsters are generally consistent with each

other. All stated that Defendant Harden was dealing drugs out of the

Harbour Club Apartments, and two gave fairly specific details about the

car Defendant Harden drove. The similar details of these four tips,

provided by four different people, tends to support the reliability and
credibility of all the information. See, e.g., United States v. Alford, No. 16-

CR-20003-SHL, 2016 WL 10922897, at *4 (W.D. Tenn. June 17, 2016),

aff’d, 717 F. App’x 567 (6th Cir. 2017)(warrant was supported by probable

cause where “[t]he affidavit . . . contained multiple anonymous tips

reporting previous drug activity at [d]efendant's residence and a named

informant describing a drug transaction at the same location close in time

to the submission of the affidavit.”); United States v. Taylor, No.

1:07CR68, 2007 WL 1115194, at *7 (N.D. Ohio Apr. 13, 2007), aff’d, 471

F. App’x 499 (6th Cir. 2012)(“The consistency of each informant's

statement with that of the others’ indicates the overall reliability of the
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individual sources.”); United States v. Martinez, 106 F.3d 402 (6th Cir.

1997)(unpublished table opinion)(“Here, there were six separate [known]

informants. Two of them had provided reliable information in the past

which led to drug seizures . . . The six different sources corroborated one
another’s stories.”).

      Second, subsequent police investigation confirmed some of the

details provided. As the tipsters described, police found a white Chrysler
200 parked both at the Harbour Club Apartments and the Shadowlawn

residence, and registration records showed that the Chrysler was linked

to Defendant Harden—the vehicle was registered to Defendant Hubbard,

Harden’s girlfriend, and was associated with the Shadowlawn address,

Harden’s residence. ECF No. 20-2, PageID.77. But this corroboration was

limited to the “innocent” details of the tips: that Defendant Harden was
associated with the vehicle and the Apartments. Police did not see

Harden dealing drugs, or otherwise directly confirm that Harden was

involved in drug activity. See United States v. Higgins, 557 F.3d 381, 390

(6th Cir. 2009)(“The affidavit contains no assertion that this informant is

known to be reliable, nor did the police corroborate any of the informant's

statements beyond the innocent fact that Higgins lived at the stated

location[.]”); but see United States v. Gregory, 311 F. App’x 848, 858 (6th

Cir. 2009)(anonymous tip that defendant had bomb-making materials in

a storage unit he rented was corroborated by police’s confirmation that

the defendant in fact rented a storage unit); United States v. Mayle, 382
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F. App’x 329, 332 (4th Cir. 2010) (probable cause was lacking but good

faith exception applied where court acknowledged that supporting

affidavit was “not great,” but affidavit “referred to multiple [consistent]

anonymous tips” and established “that deputies performed an
independent investigation” that “corroborate[d] at least some of the

information from the tips.”).

      While the affidavit lacked specific information supporting the
reliability or credibility of the informants and tipsters, the information

they provided was subsequently corroborated, at least in part. However,

this corroboration was limited to “innocent details.” Ultimately, the

Court concludes that these tips are thus entitled to limited weight.

      Beyond the limited information on the reliability of the

informants/tipsters, however, there is another problem with the Dodge
Durango warrant. While several confidential informants assert that

Defendant Harden drove or owned a white Chrysler 200, none of the

confidential informants or tipsters provided personal or second-hand

knowledge regarding, or even mentioned the black Dodge Durango. In

briefing and at oral argument, the Government appears to argue that

evidence that a defendant is engaged in continuing and ongoing drug-

trafficking is in and of itself sufficient to justify a search of the drug

dealer’s residence—and by extension, a vehicle at that residence. ECF

No. 26, PageID.192-93. But the Sixth Circuit has “never held . . . that a

suspect's ‘status as a drug dealer, standing alone, gives rise to a fair
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probability that drugs will be found in his home,” and instead requires

“some reliable evidence connecting the known drug dealer's ongoing

criminal activity to the residence; that is, . . . facts showing that the

residence [or here, vehicle] had been used in drug trafficking, such as an
informant who observed drug deals or drug paraphernalia in or around

the residence.” United States v. Brown, 828 F.3d 375, 383 (6th Cir. 2016)

(quoting United States v. Frazier, 423 F.3d 526, 533 (6th Cir. 2005)). This
sentiment is echoed in the Supreme Court’s guidance that “[t]he critical

element in a reasonable search is not that the owner of property is

suspected of crime but that there is reasonable cause to believe that the

specific ‘things’ to be searched for and seized are located on the property

to which entry is sought.” Zurcher v. Stanford Daily, 436 U.S. 547, 556

(1978) (emphasis added).1


1 In recent cases, the Sixth Circuit has explained that this “nexus” can
sometimes established by showing that a drug dealer is engaged in
“continual and ongoing operations typically involving large amounts of
drugs.” United States v. Sheckles, 996 F.3d 330, 342 (6th Cir. 2021);
United States v. Davis, 751 F. App’x 889, 892 (6th Cir. 2018). The Court
finds those cases factually distinguishable, as the facts in the Dodge
Durango tracker affidavit do not sufficiently support the conclusion that
Defendant Harden was engaged in a “continual and ongoing” drug
dealing operation, much less one “involving large amounts of drugs.” Cf.
Sheckles, 996 F.3d at 342 (Defendant’s drug activities were “continual
and ongoing” where defendant was alleged to be part of an international
drug conspiracy and was negotiating to purchase 10 kilograms of
cocaine); Davis, 751 F. App’x at 891 (Defendant was part of “continual
and ongoing” drug operation where he was arrested with 11 kilograms of
cocaine in his vehicle).
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      Therefore, the Court must consider whether the affidavit contains

specific evidence supporting a proper nexus between the Dodge Durango

and the alleged drug activity. The evidence connecting the Dodge

Durango to the alleged drug activity is: (1) that Defendant Harden drove
the vehicle alone on several occasions; (2) that the vehicle was parked at

the Harbour Club Apartments on at least two occasions; (3) that the

vehicle was observed at 585 Shadowlawn; (4) that the vehicle was
registered to Defendant Hubbard, just like the Chrysler 200; and (5) the

affiant’s statement that, in the affiant’s experience, drug dealers often

use vehicles to transport drugs to places where drugs are sold or stored.

ECF No. 20-2 PageID.76-80.

      In supplemental briefing, the Government argues that this case is

similar to United States v. Coleman, where the Sixth Circuit upheld the
district court’s determination that an affidavit provided probable cause

that a tracking device attached to the defendant’s vehicle would uncover

evidence of wrongdoing. 923 F.3d 450 (6th Cir. 2019). ECF No. 31,

PageID.228. The warrant in Coleman was supported by five facts: (1) a

confidential informant—who had been shown to be reliable—identified

the defendant as a drug supplier; (2) police had been investigating several

drug sales at the home of one of the defendant’s alleged customers; (3)

police saw the defendant drive the vehicle in question to the customer’s

house and stay for only four minutes; (4) the defendant had two prior


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felony drug convictions; and (5) the vehicle in question was registered to

the defendant’s father. Coleman, 923 F.3d at 454.

      The facts of Coleman are distinguishable. In this case, unlike

Coleman, there was little information indicating that the informants
were reliable. And while agents saw the defendant in Coleman use a

different car during at least one controlled buy, here the affidavit details

no direct observations of actual drug dealing. Id. at 453. At the same
time, however, the Coleman court noted that courts “have upheld vehicle-

tracking warrants based on much weaker factual allegations” than those

present in Coleman. Id. at 454. Indeed, this case is close to those

discussed by the Coleman court. In United States v. McNeal, the Fourth

Circuit found that a tracker warrant was supported by probable cause

where the affidavit established only that: (1) the vehicle was owned by
the defendant’s mother, (2) a reliable informant told police the vehicle

had been used for bank robberies and casing banks, and (3) agents

watched the defendant park the vehicle near two banks. 818 F.3d 141,

150 (4th Cir. 2016).

      And in United States v. Faulkner, the Eighth Circuit—while

acknowledging that it was a close call—found that a warrant with even

less factual basis was nonetheless supported by probable cause. 826 F.3d

1139 (8th Cir. 2016). In that case, an informant told police that the

defendant was trafficking heroin in Minneapolis, and provided police

with two addresses frequented by the Defendant and two vehicles driven
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by the defendant. Id. at 1142-43. The affidavit stated that the informant

was reliable, but provided no information to support that conclusion.

Police subsequently confirmed that the defendant was tied to both

addresses, and owned the two vehicles the informant had described. But
while police observed the vehicle that was ultimately tracked at both

addresses and saw the defendant driving the vehicle, police never directly

observed the vehicle used for drug activity. Id. at 1145. Here, as in
Faulkner, informants of questionable reliability identified Harden as a

drug trafficker, and police subsequently confirmed many of the innocent

details in the informant’s tips—but did not directly observe Harden

dealing drugs. And here, as there, while police saw the vehicle at the

addresses the tipster identified and saw the defendant driving it, police

never definitively saw the vehicle in question used for drug activity. And
here, as there, Harden’s criminal history includes at least two prior drug

felonies. Id. at 1144; ECF No. 20-3, PageID.96.

      Considering these similar cases, the Court concludes that the

affidavit’s facts pertaining to the Dodge Durango come close to

establishing probable cause, but are not enough. However, even if in

retrospect the affidavit appears somewhat weak in establishing probable

cause, the Court concludes that the investigating officers reasonably

relied on it, so that evidence obtained as a result of tracking the Durango

may still be admitted.


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      Even where a warrant was not supported by probable cause, the

evidence obtained as a result of the search or seizure need not be

suppressed when it was “seized in reasonable, good-faith reliance on a

search warrant that is subsequently held to be defective.” U.S. v. Leon,
468 U.S. 897, 922 (1984). The “good faith” exception will not apply,

however, where the supporting affidavit was nothing more than “bare

bones” that did not provide the magistrate with a substantial basis for
determining the existence of probable cause, or where the affidavit was

so lacking in indicia of probable cause as to render official belief in its

existence entirely unreasonable. Leon, 468 U.S. at 914-15, 923. A bare-

bones affidavit is not one that lacks probable cause. As the Sixth Circuit

has explained, “[a]n affidavit cannot be labeled “bare bones” simply

because it lacks the requisite facts and inferences to sustain the
magistrate's probable-cause finding; rather, it must be so lacking in

indicia of probable cause that, despite a judicial officer having issued a

warrant, no reasonable officer would rely on it.” United States v. White,

874 F.3d 490, 497 (6th Cir. 2017). But “[a]lthough the good-faith standard

is less demanding than the standard for probable cause, the affidavit still

must draw some plausible connection to the [particular place to be

searched].” United States v. Brown, 828 F.3d 375, 385–86 (6th Cir. 2016).

      The affidavit was not so devoid of facts connecting the Dodge

Durango to the alleged drug dealing that no reasonable officer would rely

on it. While the affidavit did not explicitly state that Defendant Harden
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was using the Dodge Durango as a replacement for the Chrysler 200 to

travel to and from places where drugs were sold or stored, a reasonable

officer could draw that conclusion from several facts present in the

affidavit. See White, 874 F.3d at 500 (“reasonable inferences that are not
sufficient to sustain probable cause in the first place may suffice to save

the ensuing search as objectively reasonable.”). First, the Chrysler 200

had not moved in several weeks, so it was reasonable to infer that
Defendant Harden was using a different vehicle. Second, Defendant

Harden had been seen driving the Dodge Durango by himself several

times, including on three near-consecutive days shortly before the

warrant was issued. ECF No. 20-2, PageID.80. Third, the Dodge Durango

was registered to Defendant Hubbard, just like the Chrysler 200 that the

tipsters did describe. Id. at PageID.79. Fourth, the Dodge Durango was
identified at two different locations both connected to Harden, including

the Harbour Club Apartments—the location that the tipsters and

informants had identified as the place where Harden was dealing drugs.

These inclusion of these facts, coupled with Harden’s history of drug

crimes, are sufficient to make the affidavit more than a “bare bones”

affidavit upon which no reasonable officer could rely.

      For these reasons, the Court finds that the good faith exception

applies, and that any evidence collected or derived from the GPS tracking

of the Dodge Durango need not be suppressed.


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         b. February 24, 2020 Warrant (Harbour Club Apartments
            and Shadowlawn residence)
      The second contested search warrant was issued on February 24,
2020, and had two target locations: (1) an apartment located at SI94

Service Drive in Van Buren, Michigan, (“Harbour Club Apartment”) and

(2) a single-family home located at Shadowlawn Street in Inkster,

Michigan (“Shadowlawn residence”). Defendant Harden asserts that the

February 24, 2020 search warrant was not supported by probable cause

because the supporting affidavit contained insufficient evidence to

connect the alleged drug trafficking to the apartment unit or home that

was searched.

               i. The search of the Shadowlawn Residence
      The Government points to a number of facts in the affidavit that it

suggests are sufficient to establish probable cause to search both

residences. As to the information provided by the anonymous tipsters and

confidential informants, as discussed above in connection with the Dodge

Durango tracker warrant, the affidavit lacks information about their

reliability, and the information was only minimally corroborated.
Moreover, the informants and tips provide no information concerning the

Shadowlawn location at all. Accordingly, the information provided by the

informants and tips do not independently support a finding of probable

cause as to the Shadowlawn residence.




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      The affidavit also contains facts that trash pulls at Shadowlawn

recovered two knotted, plastic sandwich bags as well as evidence of

Defendant Harden’s residency at the location. In addition, Harden had

been observed going to and from the Shadowlawn address. Knotted
sandwich bags, though perhaps consistent with drug trafficking, are in

and of themselves common household items, and here it is not alleged

that they contained or were tested for drug residue.
      Defendant’s residency at the Shadowlawn address and his alleged

known drug dealing does not ipso facto justify a search. U.S. v. Crockett,

548 F.Supp.2d 435, 440 (E.D. Mich. 2008) (referencing U.S. v. Frazier,

423 F.3d 526, 532-33 (6th Cir. 2005). Unlike other cases in which

probable cause has been found to search a Defendant’s residence on the

basis of their ongoing drug dealing, here Defendant Harden had not yet
been arrested for drug trafficking (see United States v. Kenny, 505 F.3d

458, 461 (6th Cir. 2007) and there were not multiple controlled buys

where Defendant drove from the site of the buy to the residence (see

United States v. Coleman, 923 F.3d 450, 457 (6th Cir. 2019)). This case is

more like United States v. Higgins, where the affidavit at issue relied on

“an unproven tipster, with no evidence that the tipster observed narcotics

or evidence of illegal drug sales associated with the defendant's

residence.” Coleman, 923 F.3d at 458 (discussing United States v.

Higgins, 557 F.3d 381, 390 (6th Cir. 2009)). See also United States v.

Helton, 314 F.3d 812 (6th Cir. 2003).
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      Finally, the single short stay that was observed at the Shadowlawn

residence through digital surveillance does not provide evidence of

narcotics trafficking—but rather, merely reaffirms that Defendant

Harden resided at the Shadowlawn home. “Having frequent visitors, who
stay a short time and then leave, is not necessarily indicative of criminal

activity.” United States v. Ronnie Buffer, 529 F. App’x 482, 484-85 (6th

Cir. 2013)(quoting United States v. King, 230 F.3d 1361 (6th Cir.
2000)(unpublished table opinion)). Considering the totality of the facts

alleged in the affidavit, they show Harden’s connection to Shadowlawn,

that Harden has a history of drug trafficking, and that there were

knotted sandwich bags in the trash of Shadowlawn. These facts may

provide some grounds for suspicion that drugs might be found at

Shadowlawn, but they are insufficient to show a probability that evidence
of drug trafficking would be likely to be found.

      The Court now must consider whether any evidence derived from a

search of the Shadowlawn residence must be excluded, or falls within the

good faith exception outlined above. In a notice of supplemental authority

(ECF No. 34), the government points the Court to United States v. Reed,

993 F.3d 441 (6th Cir. 2021). In Reed, the Sixth Circuit held that an

affidavit detailing a suspect’s ongoing drug activity—even if insufficient

to create a proper nexus to the suspect’s home supporting probable

cause—was still sufficient to support a “minimally sufficient nexus”

justifying police officers’ good faith reliance on the warrant given the
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Sixth Circuit’s “unsettled jurisprudence” on when a suspect’s ongoing

drug dealing may justify a search of their home. Id. at 993 F.3d 444-45.

      But in Reed, the Sixth Circuit highlighted several key facts that are

not present here. First, a “reliable informant” had made two controlled
drug purchases from the Reed defendant, one within the last twenty days,

another within the last five. Id. at 451. Second, police had directly

observed the defendant “engage in hand-to-hand transactions” with a
number of individuals noting that “on some occasions the individuals

would hand [the defendant] money and [the defendant] would in turn

hand them a clear bag with an unknown substance.” Id. at 445. The

warrant in Reed provided significantly more evidence showing a record

of ongoing drug trafficking than was present in this case. Here, there was

not enough information in the affidavit to allow a reasonable officer to
conclude that the was sufficient “ongoing drug activity” to justify a search

of Defendant Harden’s residence on Shadowlawn based just on that

activity. Nor was there anything establishing a “minimally sufficient

nexus” between the alleged drug dealing and the Shadowlawn residence

that justified officers’ reliance on the warrant: the anonymous tips make

no mention of the Shadowlawn residence at all, and the affidavit

identifies only a single “short stay” at the Shadowlawn residence. For

these reasons, the Court concludes that the good faith exception does not

apply, and any evidence seized as a result of the search of the

Shadowlawn residence must be suppressed.
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              ii. The search of the Harbour Club Apartments

      The affidavit in support of the search warrant for the Harbour Club

Apartment includes facts that the others do not. First, as the affidavit

explains, the “short stay” activity that is cited in support of all the
warrants actually took place at the Harbour Club Apartments.

Additionally, the affidavit states that on February 19, 2020 a minivan

pulled into the parking lot at the Harbour Club Apartments, and the
driver entered the building where Defendant’s apartment was for about

five minutes. ECF No. 20-3, PageID.101-102. Police stopped the minivan

for a traffic infraction shortly thereafter and, during a consent search of

the minivan, discovered “a silver, metal, cylindrical canister containing

sever[al] small white ‘rocks,’” a “clear glass smoking device . . . typically

used for ingesting narcotics,” and a “small clear plastic baggie containing
several hard white and brown ‘rocks.’” Id. at PageID.102. After being

arrested, the minivan driver told police that all the items belonged to

him, and that “they were a combination of heroin, crack, and possible

crushed up pills.” Id. The affidavit does not indicate that the minivan

driver said anything about whether he had purchased the drugs at the

Harbour Club Apartments or from Defendant Harden. Id. The affidavit

also identifies a number of other short visits by various unknown people

to the Harbour Club Apartments while Defendant Harden was present

at the complex. ECF No. 20-3, PageID.100-103. The affidavit notes that


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this “’short stay’ traffic” is “consistent with drug trafficking.” Id. at

PageID.101.

      The situation at hand is factually akin to that considered by the

Sixth Circuit in United States v. Ronnie Buffer, 529 F. App’x 482, 485 (6th
Cir. 2013). In that case, police had received an anonymous tip that the

defendant was dealing drugs from his residence, and police observed

numerous “short visits” at the residence. Id. at 483. When one vehicle
leaving the residence was stopped for a traffic infraction, police

discovered a small amount of marijuana. Id. The Sixth Circuit explained

that this evidence, taken together, was insufficient to support a warrant:
      For two reasons, we conclude that the discovery of marijuana,
      even when taken together with the short visits and
      anonymous tip, did not create a substantial basis for
      determining that probable cause existed to search the
      Residence. First, there is no clear nexus between Sanders's
      possession of the marijuana and the Residence; it is entirely
      possible, for example, that Sanders already had the
      marijuana on his person when he arrived at the Residence.
      This conclusion is supported by the very small quantity of
      marijuana, the approximate equivalent of one marijuana
      cigarette, that Edwards found on Sanders—a quantity that
      hardly suggests a recent drug sale. Moreover, we note that
      Sanders did not admit to purchasing the marijuana at the
      Residence. Second, the affidavit says nothing about the
      allegedly criminal nature of the “transactions” that occurred.
      The affidavit reveals neither the manner in which the
      transactions took place nor what, if anything, was exchanged.
      Id. at 485. This case is similar. For the reasons discussed above, the

Court finds the anonymous tips to be of minimal value. And, just as in


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Buffer, it is entirely possible that the minivan driver already had the

drugs in his vehicle before he arrived at the Apartments. Nor is there any

indication—beyond the fact that Defendant Harden was present at the

building when the driver visited—that the minivan driver had obtained
the drugs from Harden rather than one of the other residents of the

Harbour Club Apartments. However, at the same time, the short stay

visits were more substantial than those identified in Buffer. There, the
Sixth Circuit rejected as insufficient an affidavit stating only that the

affiant “observed ‘several’ visits” and specifying “neither the precise

number of visits nor the time span of surveillance.” Buffer, 529 F. App’x

at 485. The Sixth Circuit concluded that “observation of as few as three

visits, lasting as little as one minute each, over a possible twenty-four-

hour span” was insufficient to support a finding of probable cause. Id.
      In this case, the affidavit was more detailed and specific. The

affidavit identified in detail three “short visits” over the course of about

half an hour on February 18, 2020 while Harden was present at the

Apartments. ECF No. 31-3, PageID.277. The affidavit also details four

short visits on February 24, 2020 over the course of about an hour, also

while Harden’s vehicle was present at the Apartments. Id. at

PageID.278. That brings this case closer to United States v. Joye, 454 F.

Supp. 3d 675, 685 (E.D. Mich. 2020), in which the district court concluded

that sixteen short visits to a defendant’s home involving hand-to-hand

transactions—all detailed specifically in a supporting affidavit—were
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sufficient to support a search warrant for the home. See also United

States v. Henley, No. 2:15-CR-20644, 2016 WL 11735389, at *4 (E.D.

Mich. June 17, 2016) (noting in dicta that “[t]hree brief visits during a

twenty minute period, for example, is more probative of drug sales than
three brief visits over the course of a day.”). While the affiant in this case

did not appear to observe any hand-to-hand transactions, the affidavit

detailed several short visits, all close in time to one another, all while
Defendant Harden was present. Furthermore, one person, the minivan

driver, was caught with illegal narcotics just after making such a visit to

the Harbour Club Apartments.

      As to the confidential informants, the affidavit still fails to provide

any information as to why the information provided is reliable. However,

all of the informants and tipsters did specifically identify the Harbour
Club Apartments as the site of Harden’s drug dealing. Taken together,

the informant statements and anonymous tips—coupled with detailed

descriptions of several short stay visits, the seizure of the same type of

drug from the minivan that tipsters said Harden was selling, and

Defendant Harden’s criminal history of multiple drug felonies—is

enough to establish a bare minimum of probable cause.

      Moreover, even if the facts in the affidavit could be said to miss the

mark of probable cause, they were so close that a reasonably well-trained

officer would be justified in relying on the warrant. The affidavit clearly

identified a “minimally sufficient nexus” in which there was “some
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connection, regardless of how remote it may have been—some modicum

of evidence, however slight—between the criminal activity at issue and

the place to be searched.” United States v. Reed, 993 F.3d 441, 451 (6th

Cir. 2021). Therefore, the Court concludes that the warrant to search the
Harbour Club Apartments was supported by probable cause and, even if

probable cause was lacking, police reliance on the warrant to search the

Harbour Club Apartments was not unreasonable and the Leon good faith
exception applies. Therefore, the evidence will not be suppressed.

         c. February 25, 2020 Warrant

      The third search warrant that is challenged was issued on February

25, 2020, and had one target location: a rental storage unit on Middlebelt

Road in Romulus, Michigan. Defendant Harden argues that the storage

unit warrant was not supported by probable cause.2




2Defendant Harden may also be arguing that the storage unit would not
have been discovered but for the illegal first search of the Shadowlawn
residence. Defendant Harden’s counsel briefly mentioned this at the
hearing held in this matter, see ECF No, 26, PageID.177, but the
argument was not raised in Defendant Harden’s supplemental brief.
Even if Harden does seek to raise that argument, the Court does not
accept it, because the storage unit would have been discovered through
the use of the GPS tracker–indeed the GPS tracker was already in place
when the Shadowlawn search was executed, and had already tracked the
Dodge Durango to the ABC Storage facility several times. Thus “routine
procedures that police would have used regardless of the illegal search
would have resulted in the discovery of the disputed evidence.” United
States v. Hodge, 714 F.3d 380, 387 (6th Cir.2013).
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      As to probable cause, the storage unit warrant was supported by six

things: (1), the common allegations regarding the short visits, tipsters,

and Defendant Harden’s criminal record contained in the other warrant

affidavits; (2), that the unit was registered to Defendant Hubbard; (3),
that on three occasions, Defendant drove from the Shadowlawn residence

to the storage unit, stayed for less than five minutes, then drove to the

Harbour Club Apartments; (4), that police officers surveilling the storage
facility saw the Dodge Durango arrive a few hours after the Shadowlawn

and Harbour Club Apartments warrants were executed, then leave

abruptly; (5) that keys to the storage locker were discovered during the

search of 525 Shadowlawn3 and (6), the affiant’s statement that, in their




3 As discussed above, the first search of the Shadowlawn residence must
be suppressed. But mere inclusion of tainted evidence in a search
warrant affidavit does not taint the warrant or compel exclusion of
evidence seized pursuant to that warrant. United States v. Bah, 794 F.3d
617, 634 (6th Cir. 2015). Instead, courts remove the illegally obtained fact
and consider whether there is still sufficient information to establish
probable cause. Id. Putting aside any argument that investigators would
have inevitably discovered the keys during their second, legal, search of
the Shadowlawn residence, the Court concludes that when any mention
of the keys is removed from the affidavit, there is still sufficient
information to establish probable cause. The keys are not probative of
whether drugs would be found in the unit, but rather would show a
connection between the Defendants and the unit. That connection is
amply shown by other evidence: Defendant Hubbard is connected to the
unit by virtue of her being the named renter on the unit, and Defendant
Harden is connected to the unit by GPS tracking of the Dodge Durango.
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experience, drug traffickers store narcotics, narcotics proceeds, and

related records in storage units. ECF No. 31, PageID.245-246.

      Just as with the other warrants, the Court finds little evidence of

reliability as to the informants/tipsters, and the tips do not mention a
storage unit. But the remaining information is sufficient to support

probable cause. First, the affidavit includes the common information

regarding Defendant Harden’s criminal history, the short stay visits at
the Harbour Club Apartments, and a statement by the affiant that drug

traffickers often store drugs or other evidence in storage units. The GPS

tracking data showed that, on at least three occasions, Harden visited

the storage unit before traveling to the Harbour Club Apartments. From

this pattern of activity, a reasonable inference could be drawn that

Defendant Harden was collecting drugs from the storage unit to be sold
at the Harbour Club Apartments. Courts in this district and elsewhere

in the Sixth Circuit have found search warrants to be supported by

probable cause on similar facts. See United States v. Thompson, No. 05-

80750, 2006 WL 3105351, at *8 (E.D. Mich. Oct. 31, 2006)(Cohn,

J.)(warrant to search storage unit was valid where informant told

investigators that an ongoing drug dealing operation was running out of

a carwash, police observed suspicious behavior at the car wash, and

vehicle was loaded with duffel bag at car wash then driven to the storage

unit.); United States v. Davis, No. 1:13-CR-224, 2015 WL 1726760, at *1-

3 (W.D. Mich. Apr. 15, 2015)(warrant to search storage unit was
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supported by probable cause where defendant visited storage unit shortly

after one controlled buy and shortly before a second controlled buy);

United States v. Daniels, No. 3:19-CR-177-CRS, 2020 WL 7634591, at *9

(W.D. Ky. Dec. 22, 2020)(warrant was supported by probable cause where
surveillance showed that the defendant “made trips [to the storage unit]

before and after conducting short stays in residential areas,” and where

police saw the defendant store a vehicle in the storage unit that detective
“believed” had been involved in criminal activity); United States v. Payne,

No. 1:19CR103, 2020 WL 4284926, at *3 (S.D. Ohio July 27,

2020)(warrant to search storage unit was supported by probable cause

where an informant told police that they believed the defendant was

using a storage unit to “facilitate” his drug trafficking, and GPS tracking

of defendant’s vehicle revealed him visiting the storage facility).
      Additionally, shortly after the search warrants for the Shadowlawn

residence and Harbour Club Apartments were executed, the Dodge

Durango appeared at the storage facility. ECF No. 20-4, PageID.122-23.

This is inherently suspicious, and supports the reasonable inference that

someone associated with Defendant Harden sought to remove evidence

from the storage unit after learning of the police investigation. That

inference is supported by the fact that, upon seeing police officers at the

storage facility, the Dodge Durango seems to have departed the storage

facility without completing any business there. Id. For these reasons the


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Court concludes that the February 25, 2020 warrant to search the ABC

Storage unit was supported by probable cause.

         d. March 5, 2020 Warrant

      The fourth search warrant was issued on March 5, 2020, and
authorized a second search of the Shadowlawn residence.4 ECF No. 31-5.

Defendant Harden argues that the warrant did not offer sufficient

information to conclude that the warrant was “anything more than ‘bare

bones.’” ECF No. 27, PageID.216. However, unlike the earlier warrant to

search the Shadowlawn residence, the March 5 warrant contained

detailed, specific information identifying a nexus between the
Defendant’s alleged drug dealing and the residence.

      The main information in the supporting affidavit for that warrant

is derived from recordings of jail phone calls made in early March
between Defendants Harden and Hubbard. These jail calls, detailed in

the supporting affidavit for the March 5 warrant, provided sufficient

probable cause to search the Shadowlawn residence. The calls indicated


4It appears that on the same day, police also obtained a warrant to search
the Harbour Club Apartments unit a second time. See ECF No. 31-5,
PageID.312 (“A search warrant for the common area of 48631 S I94
Service Dr Apt # 205 . . . (Harbo[u]r Club Apartments) was reviewed and
approved . . . on March 5th 2020.” Defendant Harden does not appear to
challenge this second search of the Harbour Club Apartments address.
Even if Defendant Harden challenged that search, his challenge would
fail for the same reasons his challenge to the second search of the
Shadowlawn residence fails: the jail calls provide probable cause for both
searches.
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that Defendant Hubbard had taken drugs from the Harbour Club

Apartments and brought them to the Shadowlawn home, that she had

“cooked” narcotics at the Shadowlawn home, and that she planned to

continue dealing narcotics. As the Supreme Court has explained,
“[a]dmissions of crime, like admissions against proprietary interests,

carry their own indicia of credibility—sufficient at least to support a

finding of probable cause to search.” United States v. Harris, 403 U.S.
573, 583 (1971). As such, the affidavit was enough to support probable

cause to believe that evidence of the Defendants’ drug dealing would be

found by a second search of the Shadowlawn home, and any evidence

seized as a result of that search need not be excluded.5

IV.   CONCLUSION

      For the foregoing reasons, Defendant’s Motion to Suppress (ECF
No. 20) is GRANTED IN PART and DENIED IN PART. In sum, the

5 Defendants do not appear to challenge the legality of Harden’s arrest,
so the issue of whether the jail calls themselves should be suppressed is
not before the Court. But even if Harden’s arrest were successfully
challenged, the Court could not conclude that Harden’s entirely
voluntary statements on the jail phone—made about a week after his
detention and not to police officers but to his co-conspirator—should be
suppressed as fruits of a tainted arrest. See United States v. Gross, 662
F.3d 393, 402 (6th Cir. 2011)(confession volunteered by defendant two
months after unconstitutional stop while defendant was detained on an
outstanding arrest warrant was “sufficiently attenuated” to purge any
taint associated with the illegal stop); United States v. Akridge, 346 F.3d
618, 628 (6th Cir. 2003) (finding “most dispositive” the “degree of free
will” exercised by defendants and the “temporal attenuation” between
illegal search and inculpatory statements).
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Court concludes that: (1) the February 3 warrant to track the Dodge

Durango lacked sufficient probable cause, but the good faith exception

applies; (2) the February 24 warrant to search the Shadowlawn residence

lacked sufficient probable cause, and the good faith exception does not
apply; (3) the February 24 warrant to search the Harbour Club

Apartments was minimally supported by probable cause and in any event

the good faith exception applies; (4) the February 24 warrant to search
the ABC Storage unit was supported by probable cause; and (5), the

March 5 warrant for a second search of the Shadowlawn residence was

supported by probable cause. Any evidence seized as a result of the first

search of the Shadowlawn residence will be excluded. Any evidence

seized as a result of the searches of the Harbour Club Apartments, the

ABC Storage unit and the second search of the Shadowlawn residence
may be admitted.



    IT IS SO ORDERED.

 Dated: November 24, 2021    s/Terrence G. Berg
                             TERRENCE G. BERG
                             UNITED STATES DISTRICT JUDGE




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